
PER CURIAM.
By petition for a writ of certiorari we have for review an order of the Florida *695Industrial Commission bearing date February 29, 1968.
We find that oral argument would serve no useful purpose and it is therefore dispensed with pursuant to Florida Appellate Rule 3.10, subd. e, 32 F.S.A.
Our consideration of the petition, the record and briefs leads us to conclude that there has been no deviation from the essential requirements of law.
The petition is therefore denied.
The attorney for the petitioners is hereby awarded a fee in the amount of $250.00 for services in this Court.
It is so ordered.
CALDWELL, C. J., and DREW, THOR-NAL, ERVIN and ADAMS, JJ., concur.
